                                           Case 3:17-cv-06076-JD Document 50 Filed 12/03/18 Page 1 of 1




                                   1

                                   2                                  UNITED STATES DISTRICT COURT

                                   3                                 NORTHERN DISTRICT OF CALIFORNIA

                                   4

                                   5     JAS SOMAN, individually and on behalf of          Case No.17-cv-06076-JD
                                         all others similarly situated,
                                   6                    Plaintiff,                         JUDGMENT
                                   7             v.
                                   8
                                         ALAMEDA HEALTH SYSTEM,
                                   9                    Defendant.
                                  10

                                  11          Pursuant to the motion to dismiss order filed on December 3, 2018, Dkt. No. 49, judgment
                                  12   is entered in favor of defendant and against plaintiff on the Fair Credit Reporting Act claim. Fed.
Northern District of California
 United States District Court




                                  13   R. Civ. P. 58.
                                  14          IT IS SO ORDERED.
                                  15   Dated: December 3, 2018
                                  16

                                  17
                                                                                                   JAMES DONATO
                                  18                                                               United States District Judge
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
